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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

8

9    WILLIAM JOSHUA WHITE,             )       No. CV-F-08-962 OWW
                                       )       (No. CR-F-05-435 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                   Petitioner,       )       ORDER DENYING PETITIONER'S
                                       )       MOTION TO VACATE, SET ASIDE
12             vs.                     )       OR CORRECT SENTENCE PURSUANT
                                       )       TO 28 U.S.C. § 2255 AND
13                                     )       DIRECTING CLERK OF COURT TO
     UNITED STATES OF AMERICA,         )       ENTER JUDGMENT FOR
14                                     )       RESPONDENT
                                       )
15                   Respondent.       )
                                       )
16                                     )

17

18        On June 30, 2008, petitioner William Joshua White timely

19   filed a motion to vacate, set aside or correct sentence pursuant

20   to 28 U.S.C. § 2255.

21        Petitioner was charged in the Second Superseding Indictment

22   with conspiracy to manufacture and to possess with intent to

23   distribute marijuana (Count One); manufacture of marijuana and

24   aiding and abetting (Count Two); possession with intent to

25   distribute marijuana (Count Three); felon in possession of a

26   firearm (Count Four); and possession of a firearm in furtherance

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1    of a drug trafficking crime (Count Five).        Petitioner pleaded

2    guilty pursuant to a written Plea Agreement to Count One.

3    Petitioner specifically agreed in the Plea Agreement:

4              (f) The defendant understands that the law
               gives him a right to appeal his conviction
5              and sentence. The defendant waives any right
               to appeal his conviction and sentence and any
6              right he may have to bring any other post-
               conviction attack on his conviction and
7              sentence. He specifically agrees not to file
               a motion under 28 U.S.C. § 2255 or § 2241
8              attacking his conviction and sentence.

9              ...

10             (j) The defendant stipulates that the base
               offense level is 24.
11
               (l) [sic] The defendant agrees not to seek a
12             sentence of less than 84 months.

13   Petitioner agreed under oath during the change of plea colloquy

14   to the following:

15             The defendant will plead guilty, because he
               is in fact guilty of the essential elements
16             of the crime set forth in count one of the
               Second Superseding Indictment. The defendant
17             also agrees that the following are the facts
               of this case, although he acknowledges that,
18             as to other facts, the parties may disagree:

19                   At a date unknown, but within the
                     last five years, and continuing to
20                   on or about October 18, 2005, in
                     the Counties of Madera and Fresno,
21                   State and Eastern District of
                     California, and elsewhere,
22                   defendant WILLIAM JOSHUA WHITE, did
                     knowingly and intentionally
23                   conspire with GERALD BARNES,
                     JENNIFER BARNES,, WILLARD DON
24                   BOLINGER, GABRIEL JEBEDIAH
                     SHOENSTEIN, and others to
25                   manufacture, to distribute, and to
                     possess with the intent to
26                   distribute at least 80 kilograms of

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1                    marijuana.

2                    Specifically, on October 18, 2005,
                     agents to the Fresno
3                    Methamphetamine Task Force (FMTF)
                     with the assistance of multiple law
4                    enforcement agencies served five
                     federal search warrants in Fresno
5                    and Madera Counties, as a result of
                     a wiretap investigation which
6                    focused on the defendant. During
                     the wiretap, the defendant had
7                    numerous conversations with his co-
                     conspirators involving the
8                    manufacture and distribution of at
                     least 80 kilograms of marijuana.
9
                     During the execution of the
10                   warrants, agents seized
                     approximately 72.8 kilograms (net
11                   weight) or 169 plants of marijuana
                     at defendant WHITE’s residence, his
12                   rental at 3318 E. Paul, Fresno,
                     California, and the residence of
13                   co-conspirators GERALD and JENNIFER
                     BARNES and WILLARD DON BOLINGER.
14
                     At least 80 kilograms but less than
15                   100 kilograms of marijuana, is the
                     amount involved in the defendant’s
16                   relevant conduct encompassed in
                     count one of the Second Superseding
17                   Indictment which could be readily
                     proved by the government at trial
18                   against the defendant.

19   Petitioner was sentenced on July 6, 2007 to 84 months

20   imprisonment.   Petitioner did not file a Notice of Appeal.

21        Petitioner claims that he was denied the effective

22   assistance of counsel on the following grounds:

23             1. Ground One: Due to ‘IAC’ there is a
               misinterpretation/application of the U.S.
24             Sen. Guidelines regarding Petitioner’s
               ‘criminal history points’ under § 4A1.1(e)
25             [as applied here, one (1) point added].
               Whereupon, the Petitioner MUST have been
26             ‘imprisoned’ pursuant to prior offense under

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1              § 4A1.1(b), within 2 years of instant
               offense. However, Petitioner was not
2              ‘imprisoned’ pursuant to any offense in any
               city, State, Federal, or foreign jurisdiction
3              for the 24-months prior to the instant
               offense. [See, PSR at ¶ 56]. Defense counsel
4              of record Mr. R. NUTTALL’s failure to note,
               challenge, and eliminate this clear ‘error of
5              law’ constitutes Constitutional
               ‘ineffectiveness.’
6
               2. Ground Two: Due to ‘IAC’ there is a
7              misinterpretation/misapplication of
               Guidelines both in PSR and by the Court
8              (based upon erroneous and inaccurate PSR)
               under § 4A1.1(b) - which here, improperly
9              adds 2 ‘criminal history points’ for ‘a prior
               sentence of imprisonment of at least sixty
10             days not counted in (a)’ (emphasis added)
               [See, PSR at ¶ 56, offense from Jan/22/99 =
11             ‘summary probation’]. However, by law,
               Petitioner was not (by definition and
12             explanation in Guidelines), ‘imprisoned’ as
               part of sentence of ‘probation.’ Counsel is
13             constitutionally ineffective for not
               eliminating this clear ‘error of law’ from
14             the PSR and subsequent sentencing.

15             3. Ground Three: Due to ‘IAC’ an apparent
               misapplication of U.S. Sen. Guideline §
16             3B1.1(b) ‘Aggravating Role’ 3 ‘levels’ added
               - based solely upon PSR suggestion without
17             sufficient factual bases or evidence.
               Government/PSR neither set forth, nor
18             establish any evidence ‘preserved’ in
               presentence or sentencing records to sustain
19             the ‘aggravating role’ consideration.
               Defense counsel’s failure to eliminate,
20             challenge, or in the least ‘mitigate’ [e.g.,
               § 3B1.1(c) at 2 ‘levels’] said role
21             considerations establishes Constitutional
               ‘ineffectiveness.’
22
          Petitioner’s motion is DENIED.       Petitioner agreed to an 84
23
     month sentence as evidenced by the written Plea Agreement and the
24
     transcript of the Rule 11 plea in open court.
25
          A defendant may waive the statutory right to bring a Section
26

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1    2255 motion challenging his conviction or sentence.          United

2    States v. Pruitt, 32 F.3d 431, 433 (9th Cir. 1994); United States

3    v. Abarca, 985 F.2d 1012, 1014 (9th Cir. 1992), cert. denied sub

4    nom. Abarca-Espinoza v. United States, 508 U.S. 979 (1993).           The

5    Ninth Circuit holds that a waiver of the right to file a Section

6    2255 motion made pursuant to a negotiated plea agreement is

7    enforceable except with respect to a claim that the waiver or the

8    plea was involuntary or the result of ineffective assistance of

9    counsel.   Washington v. Lambert, 422 F.3d 864, 870-871 (9th

10   Cir.2005), cert. denied, 547 U.S. 1074 (2006).

11        Petitioner makes no claim or showing that the waiver of the

12   right to bring a Section 2255 motion set forth in his Plea

13   Agreement was involuntary or the result of ineffective assistance

14   of counsel.   Petitioner’s waiver is enforceable; Petitioner

15   cannot seek relief pursuant to Section 2255.

16        Further, even if Petitioner had contended that the waiver of

17   his right to bring a Section 2255 motion was involuntary or the

18   result of ineffective assistance of counsel, Petitioner is not

19   entitled to relief.

20        Petitioner’s counsel raised the objections to the

21   calculation of Petitioner’s criminal history score in his Formal

22   Objections to Presentence Investigation Report (Doc. 228):

23              Objection No. 3 Page 18, paragraph 66:

24              It is White’s position that the Probation
                Officer’s determination that Mr. White’s
25              Criminal History Computation be increased by
                two (2) points based upon the claim that the
26              instant offense was committed while the

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1           defendant was under a sentence of probation
            is not supported by the facts, or the terms
2           of the Plea Agreement. In order to arrive at
            this conclusion, the Probation Officer
3           determined, without a sufficient factual
            background, that Mr. White committed the
4           instant offense beginning on or about July
            23, 2003, 19 months after the January 23,
5           2001, guilty plea.

6           ...

7           Therefore, White is respectfully requesting
            that the Report be modified to recognize that
8           neither the Plea Agreement nor the evidence
            presented in this matter establish that Mr.
9           White committed the instant offense while
            under a sentence of probation. Accordingly,
10          the Report should be modified to recognize
            that Mr. White has seven (7) criminal history
11          points.

12          Objection No. 4, Page 18, paragraph 67:

13          Paragraph 67 of the Report provides that the
            instant offense was committed less than two
14          years following the defendant’s release from
            custody for a sentence counted under USSG
15          4A1.1(a) or (b). There is no merit to this
            claim.
16
            The only predicate offense the Probation
17          Officer could have relied on to make this
            determination is Mr. White’s December 10,
18          1998 guilty plea. As was set forth above, in
            Mr. White’s Objection No. 1 to the Report,
19          the evidence, in the instant matter, does not
            establish that the offense(s) began on or
20          about September of 2000. Furthermore, Mr.
            White did not agree pursuant to the Plea
21          Agreement that (see agreed upon facts set
            forth above) the offense occurred as early as
22          September 2000.

23          It is White’s position that a determination
            that September, 2000, was the date the
24          factual circumstances which led to the plea
            began simply allows Probation to arrive at a
25          result which is unsupported by the evidence,
            or plea agreement.
26

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1              As was set forth in the Plea Agreement, Mr.
               White has agreed not to move the court for a
2              sentence of less than 84 months. Therefore,
               it is unnecessary for the Report to increase
3              Mr. White’s criminal history level without a
               sufficient factual background.
4
               Accordingly, the Report should therefore be
5              modified to omit the additional point added
               in paragraph sixty-seven (67) from the
6              Report. Once this is corrected, the Report
               should also be modified to recognize that Mr.
7              White has a criminal history point score of
               no more than 6.
8
     Mr. Nuttall argued at sentencing in support of these objections
9
     to the Presentence Report. (Doc. 240).        At sentencing, the Court
10
     ruled that Petitioner’s involvement in the conspiracy commenced
11
     in October, 2003 and reduced Petitioner’s criminal history score
12
     from 9 in the PSR to 7 by the Court at sentencing (Doc. 240;
13
     11:22, 21:21-25).    Petitioner’s contentions in Grounds One and
14
     Two that Mr. Nuttall was constitutionally ineffective are without
15
     merit.
16
          Petitioner’s contention that Mr. Nuttall was ineffective in
17
     failing to challenge the three level increase in Petitioner’s
18
     offense level pursuant to USSG § 3B1.1(b) is also without merit.
19
     Pursuant to the Plea Agreement, the Government agreed that it
20
     “will recommend a four-level enhancement pursuant to U.S.S.G. §
21
     3B1.1(b) [sic] for his leadership role” and “will recommend a
22
     sentence of 84 months.”     The PSR recommended a four level
23
     increase pursuant to USSG § 3B1.1(a).        USSG § 3B1.1 provides:
24
               Based on the defendant’s role in the offense,
25             increase the offense level as follows:

26             (a) If the defendant was an organizer or

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1                leader of a criminal activity that involved
                 five or more participants or was otherwise
2                extensive, increase by 4 levels.

3                (b) If the defendant was a manager or
                 supervisor (but not an organizer or leader)
4                and the criminal activity involved five or
                 more participants or was otherwise extensive,
5                increase by 3 levels.

6                (c) If the defendant was an organizer,
                 leader, manager, or supervisor in any
7                criminal activity other than described in (a)
                 or (b), increase by 2 levels.
8
     At sentencing, the Court reduced this enhancement to three
9
     levels, which Mr. Nuttall concurred was appropriate under the
10
     circumstances.   Petitioner’s adjusted offense level was reduced
11
     from 28 to 27, resulting in a total offense level of 24. (Doc.
12
     240, 15:5-17:6).    If a two-level reduction pursuant to § 3B1.1(c)
13
     had been argued for and adopted by the Court, Petitioner’s
14
     sentencing range would still have permitted imposition of the
15
     agreed upon 84 month sentence, if 7 criminal history points were
16
     used; if, however, only 6 criminal history points were used,
17
     Petitioner’s sentencing range would have been less than 84
18
     months.   Therefore, Petitioner cannot show that he was prejudiced
19
     by counsel’s failure to argue for a two-level adjustment under §
20
     3B1.1(c).   If no enhancement pursuant to       § 3B1.1 was made,
21
     Petitioner’s total offense level would have been 22 and would
22
     have resulted in a Guideline sentencing range less than the 84
23
     month sentence to which the parties had agreed in the Plea
24
     Agreement (using 7 criminal history points).         Because the parties
25
     had agreed to an 84 month sentence, Mr. Nuttall could not have
26

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1    argued that no enhancement under § 3B1.1 be imposed without

2    breaching the terms of the Plea Agreement.

3         There is a suggestion in Petitioner’s motion that he claims

4    ineffective assistance of counsel because of counsel’s failure to

5    file an appeal.    Petitioner specifically waived his right to

6    appeal his conviction and sentence in the Plea Agreement.            At

7    sentencing, the following occurred:

8              THE COURT: All right. I believe that appeal
               rights have been waived. I don’t want to
9              impair a valid and subsisting waiver of
               appeal rights, so I won’t advise Mr. White
10             about his appeal rights. Do you agree?

11             THE DEFENDANT: Yes.

12             THE COURT: Mr. Nuttall, do you agree?

13             MR. NUTTALL: Yes ....

14   (Doc. 240, 33:10-15).     Petitioner makes no claim that he

15   specifically asked Mr. Nuttall to file a Notice of Appeal.

16        In cases where the defendant neither instructs counsel to

17   file an appeal nor asks that an appeal not be taken, the Supreme

18   Court in Roe v. Flores-Ortega, 528 U.S. 470 (2000), holds:

19             [T]he question whether counsel has performed
               deficiently by not filing a notice of appeal
20             is best answered by first asking a separate,
               but antecedent, question: whether counsel in
21             fact consulted with the defendant about an
               appeal. We employ the term ‘consult’ to
22             convey a specific meaning - advising the
               defendant about the advantages and
23             disadvantages of taking an appeal, and making
               a reasonable effort to discover the
24             defendant’s wishes. If counsel has consulted
               with the defendant, the question of deficient
25             performance is easily answered: Counsel
               performs in a professionally unreasonable
26             manner only by failing to follow the

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1              defendant’s express instructions with respect
               to an appeal ... If counsel has not consulted
2              with the defendant, the court must in turn
               ask a second, and subsidiary, question:
3              whether counsel’s failure to consult with the
               defendant itself constitutes deficient
4              performance. That question lies at the heart
               of this case: Under what circumstances does
5              counsel have an obligation to consult with
               the defendant about an appeal?
6
               ...
7
               We ... hold that counsel has a
8              constitutionally-imposed duty to consult with
               the defendant about an appeal when there is
9              reason to think either (1) that a rational
               defendant would want to appeal (for example,
10             because there are nonfrivolous grounds for
               appeal), or (2) that this particular
11             defendant reasonably demonstrated to counsel
               that he was interested in appealing. In
12             making this determination, courts must take
               into account all the information counsel knew
13             or should have known ... Although not
               determinative, a highly relevant factor in
14             this inquiry will be whether the conviction
               follows a trial or a guilty plea, both
15             because a guilty plea reduces the scope of
               potentially appealable issues, and because
16             such a plea may indicate that the defendant
               seeks an end to judicial proceedings. Even
17             in cases where the defendant pleads guilty,
               the court must consider such factors as
18             whether the defendant received the sentence
               bargained for as part of the plea and whether
19             the plea expressly reserved or waived some or
               all appeal rights. Only by considering all
20             relevant factors in a given case can a court
               properly determine whether a rational
21             defendant would have desired an appeal or
               that the particular defendant sufficiently
22             demonstrated to counsel an interest in an
               appeal.
23
     Id. at 478, 480.     With respect to the prejudice prong of a claim
24
     of ineffective assistance of counsel, the Supreme Court holds
25
     that “to show prejudice in these circumstances, a defendant must
26

                                        10
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1    demonstrate that there is a reasonable probability that, but for

2    counsel’s deficient failure to consult with him about an appeal,

3    he would have timely appealed.”      Id. at 484.    The Supreme Court

4    concluded:

5                 As with all applications of the Strickland
                  test, the question whether a given defendant
6                 has made the requisite showing will turn on
                  the facts of a particular case ...
7                 Nonetheless, evidence that there were
                  nonfrivolous grounds for appeal or that the
8                 defendant in question promptly expressed a
                  desire to appeal will often be highly
9                 relevant in making this determination. We
                  recognize that the prejudice inquiry we have
10                described is not wholly dissimilar from the
                  inquiry used to determine whether counsel
11                performed deficiently in the first place;
                  specifically, both may be satisfied if the
12                defendant shows nonfrivolous grounds for
                  appeal ... But, while the performance and
13                prejudice prongs may overlap, they are not in
                  all cases co-extensive. To prove deficient
14                performance, a defendant can rely on evidence
                  that he sufficiently demonstrated to counsel
15                his interest in an appeal. But such evidence
                  alone is insufficient to establish that, had
16                the defendant received reasonable advice from
                  counsel about the appeal, he would have
17                instructed his counsel to file an appeal.

18                By the same token, although showing
                  nonfrivolous grounds for appeal may give
19                weight to the contention that the defendant
                  would have appealed, a defendant’s inability
20                to ‘specify the points he would have raised
                  were his right to appeal reinstated,’ ...
21                will not foreclose the possibility that he
                  can satisfy the prejudice requirement where
22                there are other substantial reasons to
                  believe that he would have appealed ... We
23                similarly conclude here that it is unfair to
                  require an indigent, perhaps pro se,
24                defendant to demonstrate that his
                  hypothetical appeal might have had merit
25                before any advocate has even reviewed the
                  record in his case in search of potentially
26                meritorious grounds for appeal. Rather, we

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1              require the defendant to demonstrate that,
               but for counsel’s deficient conduct, he would
2              have appealed.

3    Id. at 485-486.

4         Petitioner has not demonstrated that counsel was ineffective

5    in failing to consult him about filing an appeal or filing an

6    appeal on his behalf.    Here, there was no reason to inquire about

7    appeal because Petitioner agreed to a minimum 84 month sentence

8    and voluntarily and knowingly waived any right to appeal in the

9    Plea Agreement.   In addition to confirming his written waiver at

10   his Rule 11 plea, Petitioner also agreed in response to the

11   Court’s specific question during sentencing, that Petitioner

12   waived his right to appeal.     Petitioner had obtained the benefit

13   of a very favorable plea bargain, which would have been

14   jeopardized if a Notice of Appeal was filed, as it would have

15   breached the Plea Agreement.       Petitioner’s contentions about the

16   calculation of his criminal history points and about the § 3B1.1

17   enhancement to his adjusted offense level        provided no ground for

18   appeal because Mr. Nuttall had achieved those adjustments at

19   sentencing and because Petitioner and Respondent had expressly

20   agreed to a minimum of 84 month sentence.        Because there was no

21   ground for appeal, appeal had been validly waived, and Petitioner

22   obtained the benefit of a very favorable plea bargain, no

23   rational defendant would want to appeal.        Defense counsel’s

24   failure to file a Notice of Appeal was not constitutionally

25   deficient performance.

26        For the reasons stated:

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1          1.     Petitioner William Joshua White’s motion to vacate, set

2    aside or correct sentence pursuant to 28 U.S.C. § 2255 is DENIED.

3          2.     The Clerk of the Court is directed to enter JUDGMENT FOR

4    RESPONDENT.

5    IT IS SO ORDERED.

6    Dated:     July 22, 2008               /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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